
“ The court is of opinion that there is error in so much of the said decree as awards costs against the appellant, inasmuch as he, by his injunction, obtained relief against the execution issued upon the judgment of the district court, to the amount of the sum for which the same was perpetually enjoined, and was so far the party prevailing in the cause j but that there is no error in the residue of the said decree; therefore, it is decreed and ordered, that so much of the said decree as is mentioned above to be erroneous, be reversed and annulled; that the residue thereof be affirmed; and that the appellee pay to the ap*290Pe^ant his costs by him expended, as well in prosecuting his suit in the said superior court of chancery, as in the prosecution of his appeal aforesaid here.”
